                Case
     Fill in this       23-01923-eg
                  information to identify your Doc
                                               case:   1   Filed 06/30/23 Entered 06/30/23 13:50:26                             Desc Main
                                                           Document      Page 1 of 87
     United States Bankruptcy Court for the:

     ____________________
     District              District of _________________
              of South Carolina        (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                               Chapter 7
                                                            
                                                            ✔
                                                            
                                                                Chapter 11
                                                                Chapter 12
                                                                                                                                         Check if this is an
                                                               Chapter 13                                                                  amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                         HandPicked,    Inc.
                                            ______________________________________________________________________________________________________




2.    All other names debtor used           HandPicked
                                            ______________________________________________________________________________________________________
      in the last 8 years                   ______________________________________________________________________________________________________
                                            ______________________________________________________________________________________________________
      Include any assumed names,
                                            ______________________________________________________________________________________________________
      trade names, and doing business
      as names                              ______________________________________________________________________________________________________




3.    Debtor’s federal Employer             XX-XXXXXXX
                                            ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                      Principal place of business                                 Mailing address, if different from principal place
                                                                                                        of business
                                               270 Haribson Blvd                                        113  Dandelion Court
                                                                                                        _______________________________________________
                                            ______________________________________________
                                            Number     Street                                           Number      Street

                                            ______________________________________________              _______________________________________________
                                                                                                        P.O. Box

                                               Columbia                      SC    29212
                                            ______________________________________________
                                                                                                        Lexington                  SC      29072
                                                                                                        _______________________________________________
                                            City                        State    ZIP Code               City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Lexington County
                                            ______________________________________________
                                            County                                                      _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)                 https://behandpicked.com
                                            ____________________________________________________________________________________________________


6.    Type of debtor                        
                                            ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                             Partnership (excluding LLP)
                                             Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
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                HandPicked, Inc.
Debtor          _______________________________________________________                         Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above



                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            4483
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                       
                                                       ✔   The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                              are less than $3,024,725. If this sub-box is selected, attach the most
       A debtor who is a “small business                      recent balance sheet, statement of operations, cash-flow statement, and federal income
       debtor” must check the first sub-                      tax return or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                    
                                                          ✔
                                                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                       noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                        Chapter 11. If this sub-box is selected, attach the most recent balance sheet, statement
       “small business debtor”) must                          of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                              in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a                          Sonya M. Ingram and Kevin D. Ingram                                Sonya Ingram is sole owner
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                               District of South Carolina
                                                   District _____________________________________________ When                 06/30/2023
                                                                                                                              __________________
      List all cases. If more than 1,                                                                                         MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 2
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                                                            Document      Page 3 of 87
              HandPicked, Inc.
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             ✔

                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have           
                                            ✔ No
      possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                Number          Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________         _______     ________________
                                                                                City                                            State       ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name     ____________________________________________________________________

                                                               Phone            ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             ✔


                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                             1-49
                                             ✔
                                                                               1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99                            5,001-10,000                             50,001-100,000
      creditors
                                             100-199                          10,001-25,000                            More than 100,000
                                             200-999

                                             $0-$50,000                       $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000                 $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                             $100,001-$500,000                $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million
                                             ✔
                                                                               $100,000,001-$500 million                More than $50 billion



  Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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               HandPicked, Inc.
Debtor         _______________________________________________________                             Case number (if known)_____________________________________
               Name



                                            $0-$50,000                          $1,000,001-$10 million
                                                                                   ✔
                                                                                                                           $500,000,001-$1 billion
16.   Estimated liabilities                 $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000                   $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million                 $100,000,001-$500 million                More than $50 billion


             Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                                petition.
      debtor
                                               I have been authorized to file this petition on behalf of the debtor.

                                               I have examined the information in this petition and have a reasonable belief that the information is true and
                                                correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                                              06/30/2023
                                                Executed on _________________
                                                            MM / DD / YYYY


                                            /s/ Sonya M. Ingram
                                                _____________________________________________               Sonya M. Ingram
                                                                                                           _______________________________________________
                                                Signature of authorized representative of debtor           Printed name

                                                       Owner
                                                Title _________________________________________




18.   Signature of attorney
                                            /s/ W. Harrison Penn
                                                _____________________________________________              Date         06/30/2023
                                                                                                                        _________________
                                                Signature of attorney for debtor                                        MM   / DD / YYYY



                                                W. Harrison Penn
                                                _________________________________________________________________________________________________
                                                Printed name
                                                Penn Law Firm, LLC
                                                _________________________________________________________________________________________________
                                                Firm name
                                                1517 Laurel Street (29201) PO Box 11332
                                                _________________________________________________________________________________________________
                                                Number     Street
                                                Columbia
                                                ____________________________________________________            SC             29211-1332
                                                                                                               ____________ ______________________________
                                                City                                                           State        ZIP Code

                                                8037718836
                                                ____________________________________                              hpenn@mccarthy-lawfirm.com
                                                                                                               __________________________________________
                                                Contact phone                                                  Email address



                                                District Ct. ID #11164                                          SC
                                                ______________________________________________________ ____________
                                                Bar number                                             State




  Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
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 Fill in this information to identify the case:

                HandPicked, Inc.
  Debtor name _________________________________________________________________

                                          District of South Carolina
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
  Case number (If known):              _________________________


                                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                                          amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                   12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                           168,447.00
                                                                                                                                                                                                    $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                          442,812.91
                                                                                                                                                                                                     $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                            611,259.91
                                                                                                                                                                                                     $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                         2,702,076.41
                                                                                                                                                                                                     $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                                    0.00
                                                                                                                                                                                                     $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                            +$ __________________
                                                                                                                                                                                                           745,046.00



4. Total liabilities ...........................................................................................................................................................................         3,447,122.41
                                                                                                                                                                                                     $ __________________
     Lines 2 + 3a + 3b




  Official Form 206Sum                                        Summary of Assets and Liabilities for Non-Individuals                                                                                        page 1
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                                                             Document     Page 38 of 87
      Fill in this information to identify the case:

                    HandPicked, Inc.
      Debtor name __________________________________________________________________

                                              District of South Carolina
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                         Check if this is an
      Case number (If known):    _________________________                                                                                   amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                       12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete            Name, telephone number,      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code      and email address of         (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                              creditor contact             debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                           professional          unliquidated,   total claim amount and deduction for value of
                                                                           services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                           government
                                                                           contracts)
                                                                                                                 Total claim, if    Deduction for       Unsecured
                                                                                                                 partially          value of            claim
                                                                                                                 secured            collateral or
                                                                                                                                    setoff
     Melanie Mauldin                                                     Unsecured Debt -
1    432 Myrtle Avenue                                                   Promissory Note for
                                                                         Purchase of HP
                                                                                                                                                      700,000.00
     Pawleys Island, SC, 29585


     Bank of America Business CC                                         Credit Card Debt
2    PO Box 660442
                                                                                                                                                      45,046.00
     Dallas, TX, 75266


3




4




5




6




7




8




    Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 1
               Case 23-01923-eg             Doc 1      Filed 06/30/23 Entered 06/30/23 13:50:26                                 Desc Main
                                                       Document     Page 39 of 87
                  HandPicked, Inc.
    Debtor       _______________________________________________________                     Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number,     Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code   and email address of        (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                       professional           unliquidated,   total claim amount and deduction for value of
                                                                       services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                              Total claim, if    Deduction for       Unsecured
                                                                                                              partially          value of            claim
                                                                                                              secured            collateral or
                                                                                                                                 setoff


9




10




11




12




13




14




15




16




17




18




19




20




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                 page 2
                Case 23-01923-eg                   Doc 1    Filed 06/30/23 Entered 06/30/23 13:50:26                             Desc Main
                                                            Document     Page 40 of 87
  Fill in this information to identify the case:

               HandPicked, Inc.
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          District of South Carolina
  Case number (If known):       _________________________                                                                            Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :     Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

           No. Go to Part 2.
   ✔
            Yes. Fill in the information below.

     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                  $______________________
                                                                                                                                   0.00

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                 Type of account               Last 4 digits of account number
          Security Federal
    3.1. _________________________________________________  Checking
                                                           ______________________              4
                                                                                               ____    3
                                                                                                      ____    7
                                                                                                             ____   2
                                                                                                                    ____         $______________________
                                                                                                                                   15,295.81
          Wells Fargo (SLK)
    3.2. _________________________________________________  Savings
                                                           ______________________              0
                                                                                               ____    5
                                                                                                      ____    8
                                                                                                             ____   8
                                                                                                                    ____           1,000.00
                                                                                                                                 $______________________


4. Other cash equivalents (Identify all)
    4.1. _____________________________________________________________________________________________________                   $______________________
    4.2. _____________________________________________________________________________________________________                   $______________________

5. Total of Part 1                                                                                                                  16,295.81
                                                                                                                                  $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :     De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

   ✔
            No. Go to Part 3.
           Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit

    7.1. ________________________________________________________________________________________________________                 $______________________
    7.2._________________________________________________________________________________________________________                 $_______________________


   Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                                page 1
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                 Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment

    8.1.___________________________________________________________________________________________________________                $______________________
    8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                  $______________________
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      ✔


      Yes. Fill in the information below.
                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

     11a. 90 days old or less:    ____________________________ – ___________________________          = ........                 $______________________
                                   face amount                   doubtful or uncollectible accounts

     11b. Over 90 days old:        ___________________________ – ___________________________          = ........                 $______________________
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                  $______________________
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s

13. Does the debtor own any investments?
      No. Go to Part 5.
      ✔


      Yes. Fill in the information below.
                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________    $________________________
    15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________   $_______________________
    16.2.________________________________________________________________________________                ______________________   $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
     Add lines 14 through 16. Copy the total to line 83.



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Pa rt 5 :    I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      Yes. Fill in the information below.
      ✔




      General description                               Date of the last         Net book value of        Valuation method used       Current value of
                                                        physical inventory       debtor's interest        for current value           debtor’s interest
                                                                                 (Where available)
19. Raw materials
    ________________________________________                  ______________                                                        $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

20. Work in progress
    ________________________________________                  ______________                                                        $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

21. Finished goods, including goods held for resale
                                                                                   45,638.89                                           13,787.10
                                                                                                            Meltdown Value/Resale of Goods
                                                      06/29/2023
  See Inventory Report attached as SOFA Exhibit A-27 ______________
    ________________________________________                                     $__________________       ______________________    $______________________
                                                              MM / DD / YYYY

22. Other inventory or supplies
    ________________________________________                  ______________                                                        $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________


23. Total of Part 5                                                                                                                   13,787.10
                                                                                                                                    $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
     
     ✔      No
           Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

     ✔
            No
           Yes. Book value _______________          Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     
     ✔      No
           Yes

Pa rt 6 :    Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                        Net book value of        Valuation method used      Current value of debtor’s
                                                                                 debtor's interest        for current value          interest
                                                                                 (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________                $________________         ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________                $________________         ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________                $________________         ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________                $________________         ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6
    ______________________________________________________________                $________________         ____________________    $______________________


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               Name




33. Total of Part 6.
                                                                                                                               $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes. Fill in the information below.
      ✔




    General description                                                          Net book value of    Valuation method          Current value of debtor’s
                                                                                 debtor's interest    used for current value    interest
                                                                                 (Where available)
39. Office furniture
Office: Two desks, tables, shelving, chairs, etc.
                                                                                    1,500.00
                                                                                  $________________    Debtor Estimate
                                                                                                      ____________________       400.00
                                                                                                                               $______________________
40. Office fixtures
See Schedule A/B Part 7, Question 40 Attachment
                                                                                    16,500.00
                                                                                  $________________    Resell Market
                                                                                                      ____________________       6,600.00
                                                                                                                               $______________________
41. Office equipment, including all computer equipment and
   communication systems equipment and software
See Schedule A/B Part 7, Question 41 Attachment                                     12,800.00          Resell Market             1,480.00
                                                                                  $________________   ____________________     $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________               $________________    ____________________    $______________________
    42.2___________________________________________________________               $________________    ____________________    $______________________
    42.3___________________________________________________________               $________________    ____________________    $______________________
43. Total of Part 7.
                                                                                                                                 8,480.00
                                                                                                                               $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     
     ✔ No
      Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     
     ✔ No
      Yes
Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                             page 4
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 Debtor                                                   Document     Page 44 of Case
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Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
     
     ✔
       Yes. Fill in the information below.


    General description                                                    Net book value of    Valuation method used      Current value of
                                                                           debtor's interest    for current value          debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          2013 Honda Odyssey - Estimated Mileage - 143,920 mi.               14,500.00           Carmax History report - Value
                                                                                                                             7,000.00
    47.1___________________________________________________________         $________________    ____________________      $______________________

    47.2___________________________________________________________         $________________    ____________________     $______________________

    47.3___________________________________________________________         $________________    ____________________     $______________________

    47.4___________________________________________________________         $________________    ____________________     $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________         $________________     ____________________     $______________________

    48.2__________________________________________________________         $________________     ____________________     $______________________

49. Aircraft and accessories

    49.1__________________________________________________________         $________________     ____________________     $______________________

    49.2__________________________________________________________         $________________     ____________________     $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)
    See Schedule A/B Part 8, Question 50 Attachment
                                                                             59,996.00           market                     15,250.00
    ______________________________________________________________         $________________     ____________________     $______________________


51. Total of Part 8.                                                                                                        22,250.00
                                                                                                                          $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
     
     ✔     No
          Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     
     ✔     No
          Yes




 Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                          page 5
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                HandPicked, Inc.
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 Debtor                                                        Document
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                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
        Yes. Fill in the information below.
       ✔



55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of     Valuation method used     Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest     for current value         debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.
       270 Harbison Blvd                                       Lease
55.1
       Columbia, SC 29212
                                                                                      182,383.00                                      168,447.00
                                                                                     $_______________      ____________________      $_____________________

55.2

                                                                                     $_______________      ____________________      $_____________________

55.3

                                                                                     $_______________      ____________________      $_____________________


56. Total of Part 9.                                                                                                                  168,447.00
                                                                                                                                     $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
       
       ✔    No
           Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       
       ✔    No
           Yes

Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
        Yes. Fill in the information below.
       ✔



        General description                                                          Net book value of     Valuation method          Current value of
                                                                                     debtor's interest     used for current value    debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets
       ______________________________________________________________                $_________________     ______________________   $____________________

61. Internet domain names and websites
                                                                                       12.00                                           2,000.00
    behandpicked.com, handpicked.net - customer base
    ______________________________________________________________                   $_________________     ______________________    $____________________

62. Licenses, franchises, and royalties
       ______________________________________________________________                $_________________     ______________________    $____________________

63. Customer lists, mailing lists, or other compilations
       ______________________________________________________________                $_________________     ______________________    $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                 $________________     _____________________    $____________________
65. Goodwill                                                                           2,480,000.00       Sale                         380,000.00
    See Schedule A/B Part 10, Question 65 Attachment
    ______________________________________________________________                    $________________     _____________________    $____________________

66. Total of Part 10.                                                                                                                  382,000.00
                                                                                                                                     $____________________
       Add lines 60 through 65. Copy the total to line 89.




 Official Form 206A/B                                            Schedule A/B: Assets  Real and Personal Property                                page 6
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67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    
    ✔     No
         Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    
    ✔     No
         Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    
    ✔     No
         Yes

Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
          No. Go to Part 12.
     ✔
           Yes. Fill in the information below.
                                                                                                                                      Current value of
                                                                                                                                      debtor’s interest
71. Notes receivable
     Description (include name of obligor)

     ______________________________________________________
                                                                     _______________     –   __________________________         =   $_____________________
                                                                     Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)
      Unused operating losses from past years that have carried forward
     _________________________________________________________________________________                               various
                                                                                                           Tax year ___________        Unknown
                                                                                                                                     $_____________________
     _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                   $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                   $_______________________
    Nature of claim                    ___________________________________

    Amount requested                   $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                   $_______________________

    Nature of claim                    ___________________________________

    Amount requested                   $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                    $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                      $_____________________
   ____________________________________________________________                                                                      $_____________________
78. Total of Part 11.
                                                                                                                                       0.00
                                                                                                                                     $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    
    ✔     No
         Yes

Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                   page 7
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Debtor                                                                 Document
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                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                         Current value
                                                                                                    personal property                        of real property
                                                                                                         16,295.81
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________

                                                                                                         0.00
81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________

                                                                                                         0.00
82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________

                                                                                                         0.00
83. Investments. Copy line 17, Part 4.                                                                 $_______________
                                                                                                         13,787.10
84. Inventory. Copy line 23, Part 5.                                                                   $_______________
                                                                                                         0.00
85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                         8,480.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         22,250.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                               168,447.00
                                                                                                                                             $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                         382,000.00
89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_______________

                                                                                                         0.00
90. All other assets. Copy line 78, Part 11.                                                      +    $_______________

                                                                                                         442,812.91                            168,447.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           +   91b.
                                                                                                                                             $________________




                                                                  611,259.91                                                                                       611,259.91
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................     $__________________




Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                               page 8
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Schedule A/B Part 5, Question 21

Description: Physical Inventory Cost on hand 6/29/2023 report provided

Valuation Method: Meltdown Value of Silver and Resale of Fashion Goods

See Inventory Report attached as SOFA Exhibit‐27



Schedule A/B Part 7, Question 40
Lexington Store Fixtures: ‐ floor free standing wooden/metal/glass bookshelves, tables, shelving units,
cabinets and display cabinets (15 pieces @ average of $500 each $7500 new and resell for $3000)

Irmo Store Fixtures: Free Standing wooden/metal/glass cases, bookshelves, tables, shelving units (18
@average of $500 each $9000 new and resell for $3600)


Schedule A/B Part 7, Question 41
Dell Desktop Computers and monitors at stores, office (9 computers age 2015 to 2017) Book $9k -
Resell Value $1k

Zebra Tag Printer, Shipping Label Printer - Book $1500 Resell $100

Clover Payment Processor card readers Machines $100 new, $20 used (2 in operation at stores, 13
in storage) $300

Desktop Printers (2 HP) - Book $200 Resell $20

Cash Drawers $200 each X3 = $600 for resell $60


Schedule A/B Part 8, Question 50
Engraving Machines - 3 Gravograph I SS400 very old machines that pre-date 2004. (two in
operation and 1 in storage) Purchased New $12,000 - Current Value based on demand of these
$1250 = $3250

2010 Embroidery Machines Babylock six-needle machines (4) - 2 in store and 2 in storage) Price
New Today is $11,999 each, Value to resell based on demand $12,000


Schedule A/B Part 10, Question 65
Goodwill at Sale in 2014 $3.4M, Business volume at the time of SALE/ Transfer with 13 stores,
Business reputation, name (34 years in business), trade secrets, customer base, vendor connections,
business processes, etc
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  Fill in this information to identify the case:
              HandPicked, Inc.
  Debtor name __________________________________________________________________
                                          _______________________________________
  United States Bankruptcy Court for the: District of South Carolina

  Case number (If known):       _________________________                                                                                                 Check if this is an
                                                                                                                                                              amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                  12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
        No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.

 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                                   Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                    Amount of claim           Value of collateral
                                                                                                                                   Do not deduct the value   that supports this
2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien              of collateral.            claim
     Business Development Corporation                            2013 Honda Odyssey - Estimated Mileage -
      __________________________________________
                                                                 143,920 mi., See Schedule A/B Part 8,                               1,642,248.41
                                                                                                                                   $__________________          597,472.81
                                                                                                                                                              $_________________

     Creditor’s mailing address
                                                                 Question 50 Attachment, See Schedule
                                                                 A/B Part 7, Question 40 Attachment, See
      111 Executive Center Drive
      ________________________________________________________   Schedule A/B Part 10, Question 65
      Enoree Bldg., Ste. 225, Columbia, SC 29210
      ________________________________________________________   Attachment, behandpicked.com,
                                                                 Describe the lien - customer base , 270
                                                                 handpicked.net
    Creditor’s email address, if known
                                                                 UCC,    1st Lien on all - 2nd on inventory
                                                                  _________________________________________________
      _________________________________________
                                                                   Is the creditor an insider or related party?
    Date debt was incurred            10/13/1014
                                     __________________            
                                                                   ✔   No
    Last 4 digits of account                                          Yes
    number                   5014
                             _________________                     Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                     No
    same property?                                                 
                                                                   ✔   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    
    ✔
      No
                                                                   As of the petition filing date, the claim is:
     Yes. Specify each creditor, including this creditor,
                                                                   Check all that apply.
                                                                      Contingent
                                                                      Unliquidated
                                                                      Disputed
2.2 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     CCA Financial
                                                                 See Inventory Report attached as SOFA                             $__________________
                                                                                                                                    435,278.00                $_________________
                                                                                                                                                               13,787.10
      __________________________________________                 Exhibit A-27
     Creditor’s mailing address
      7275 Glen Forest Drive
      ________________________________________________________
      Richmond, VA 23226
      ________________________________________________________


    Creditor’s email address, if known
      _________________________________________
                                                                   Describe the lien
                             10/13/2014
    Date debt was incurred __________________
    Last 4 digits of account                                       UCC, Loan formerly with Wells Fargo.
                                                                   _________________________________________________
    number                   6167
                             _________________
                                                                   Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                  
                                                                   ✔   No
    same property?                                                    Yes
    
    ✔ No
                                                                   Is anyone else liable on this claim?
     Yes. Have you already specified the relative                    No
              priority?
                                                                   
                                                                   ✔   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             No. Specify each creditor, including this
                   creditor, and its relative priority.            As of the petition filing date, the claim is:
                                                                   Check all that apply.
                                                                      Contingent
             Yes. The relative priority of creditors is              Unliquidated
                  specified on lines _____                            Disputed

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                      2,702,076.41
                                                                                                                                    $________________
    Page, if any.
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                            3
                                                                                                                                                                page 1 of ___
                Case    23-01923-eg
                 HandPicked, Inc.
                                                            Doc 1     Filed 06/30/23 Entered 06/30/23 13:50:26 Desc Main
  Debtor            _______________________________________________________
                                                                      Document     Page 50 of Case
                                                                                               87 number (if known)_____________________________________
                    Name



                                                                                                                                    Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                                  Amount of claim         Value of collateral
                                                                                                                                    Do not deduct the value that supports this
                                                                                                                                    of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  3 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     U.S. Small Business Administration
                                                                EIDL Covid Loan, Debtor assets inventory,
     __________________________________________                 fixtures and personal guaranty                                       400,000.00
                                                                                                                                    $__________________      0.00
                                                                                                                                                            $_________________
     Creditor’s mailing address

     Disaster Relief Processing Center
     ________________________________________________________

     14925 Kingsport Road, Fort Worth, TX 76155
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred           __________________
                                     05/19/2020                 Describe the lien
    Last 4 digits of account                                        Covid Disaster Relief Loan,
                                                                    __________________________________________________
    number                   _________________
                             7405
                                                                    Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                   
                                                                    ✔   No
    same property?                                                     Yes
    
    ✔ No

     Yes. Have you already specified the relative                  Is anyone else liable on this claim?
               priority?                                               No
              No. Specify each creditor, including this            
                                                                    ✔   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                       Contingent
              Yes. The relative priority of creditors is              Unliquidated
                   specified on lines _____                            Disputed


2.__
  4 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     US Small Business Administration
                                                                    Furniture, fixtures, inventory after BDC loan
     __________________________________________                                                                                      224,550.00
                                                                                                                                    $__________________       0.00
                                                                                                                                                            $_________________
     Creditor’s mailing address


      Disaster Relief Processing Center
     ________________________________________________________

      14925 Kingsport Road, Fort Worth, TX 76155
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred            05/01/2019
                                     __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   7002
                             _________________                      UCC
                                                                    __________________________________________________


    Do multiple creditors have an interest in the                   Is the creditor an insider or related party?
    same property?                                                  
                                                                    ✔   No
    
    ✔ No                                                               Yes

     Yes. Have you already specified the relative                  Is anyone else liable on this claim?
               priority?                                               No
              No. Specify each creditor, including this
                                                                    
                                                                    ✔   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                       Contingent
              Yes. The relative priority of creditors is              Unliquidated
                   specified on lines _____                            Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page ___
                                                                                                                                                                     2 of ___
                                                                                                                                                                           3
             Case 23-01923-eg                Doc 1        Filed 06/30/23 Entered 06/30/23 13:50:26                                  Desc Main
                                                          Document     Page 51 of 87
Debtor
               HandPicked, Inc.
               _______________________________________________________                            Case number (if known)_____________________________________
               Name



Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt Alre a dy List e d in Pa rt 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                On which line in Part 1      Last 4 digits of
         Name and address
                                                                                                                did you enter the            account number
                                                                                                                related creditor?            for this entity
     Business Development Corp. of SC
     PO Box 21823
     Columbia, SC, 29221                                                                                               1
                                                                                                               Line 2. __                    _________________


     Callison Tighe & Robinson, LLC
     PO Box 1390
     Columbia, SC, 29221                                                                                               1
                                                                                                               Line 2. __                    _________________


     Wells Fargo Bank, N.A.
     PO Box 2705
     CLS Collateral Serv. Dept                                                                                         2
                                                                                                               Line 2. __                    _________________
     Winston Salem, NC, 27199



                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




Form 206D                          Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
                                                                                                                                                      3 of ___
                                                                                                                                                           3
                 Case 23-01923-eg               Doc 1      Filed 06/30/23 Entered 06/30/23 13:50:26                                 Desc Main
   Fill in this information to identify the case:          Document     Page 52 of 87

   Debtor
                    HandPicked, Inc.
                    __________________________________________________________________

                                           District of South Carolina
   United States Bankruptcy Court for the: ________________________________

   Case number       ___________________________________________
    (If known)

                                                                                                                                       Check if this is an
                                                                                                                                          amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                      12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :       List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
        No. Go to Part 2.
    
    ✔    Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                         Total claim                  Priority amount
2.1 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           0.00
    Danielle Anastacia Johnson                                                                                                        $_________________
                                                            Check all that apply.
    550 Newton Road                                            Contingent
    Irmo, SC, 29063                                            Unliquidated
                                                               Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred                          Wages, Salaries, Commissions
    _________________________________

    Last 4 digits of account                                Is the claim subject to offset?
    number      _______________________                     ✔ No

                                                             Yes
    Specify Code subsection of PRIORITY unsecured
                                4
    claim: 11 U.S.C. § 507(a) (_____)
    Priority creditor’s name and mailing address
2.2 Janette Liverman Shealy                                 As of the petition filing date, the claim is: $______________________
                                                                                                            0.00                      $_________________
                                                            Check all that apply.
    236 McGregor Circle
    Lexington, SC, 29072                                       Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred
                                                             Wages, Salaries, Commissions
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔ No

    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                                4
2.3 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           0.00
    Janice Buff                                                                                                                       $_________________
                                                            Check all that apply.
    111 Gowan Hill Drive
                                                               Contingent
    Lexington, SC, 29072                                       Unliquidated
                                                               Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred                          Wages, Salaries, Commissions
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔
                                                                 No
    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                               4


  Official Form 206E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                 9
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  Debtor         _______________________________________________________
                 Name                                   Document     Page 53 of Case
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 Pa rt 1 .    Addit iona l Pa ge


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.           Total claim              Priority amount


  4
2.____ Priority creditor’s name and mailing address                                                       0.00
                                                                                                         $______________________   $_________________
      Karen Hiter                                        As of the petition filing date, the claim is:
      407 Creek Branch Ct                                Check all that apply.
      Lexington, SC, 29072                                  Contingent
                                                            Unliquidated
                                                            Disputed


        Date or dates debt was incurred                  Basis for the claim:

        _________________________________
                                                         Wages, Salaries, Commissions
                                                         _________________________________
        Last 4 digits of account
        number      _______________________
                                                         Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    4
        claim: 11 U.S.C. § 507(a) (_____)
                                                         
                                                         ✔   No
                                                            Yes

  5
2.____ Priority creditor’s name and mailing address                                                       0.00
                                                                                                         $______________________   $_________________
      KeAnjane Govan
                                                         As of the petition filing date, the claim is:
      3406 Fernancina Road
                                                         Check all that apply.
      Apt 311
      Columbia, SC, 29210
                                                            Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        _________________________________
                                                         Wages, Salaries, Commissions
                                                         _________________________________

        Last 4 digits of account
                                                         Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                         
                                                         ✔
                                                             No
                                   4
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

  6
2.____ Priority creditor’s name and mailing address                                                        0.00
                                                                                                         $______________________   $_________________
      Landon Ingram                                      As of the petition filing date, the claim is:
      113 Dandelion Court                                Check all that apply.
      Lexington, SC, 29072                                  Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        _________________________________                Wages, Salaries, Commissions
                                                         _________________________________

        Last 4 digits of account
        number      _______________________              Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured    
                                                         ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)
                                    4                       Yes

  7
2.____ Priority creditor’s name and mailing address                                                      0.00
                                                         As of the petition filing date, the claim is: $______________________     $_________________
      Laura Christine Collins
                                                         Check all that apply.
      711 Haverhill Court
      West Columbia, SC, 29169
                                                            Contingent
                                                            Unliquidated
                                                            Disputed


                                                         Basis for the claim:
        Date or dates debt was incurred
                                                         Wages, Salaries, Commissions
                                                         _________________________________
        _________________________________

        Last 4 digits of account                         Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                         
                                                         ✔
                                                             No
                                    4
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes


      Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                            page __    9
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  Debtor          _______________________________________________________
                  Name                                  Document     Page 54 of Case
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 Pa rt 1 .    Addit iona l Pa ge


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.           Total claim              Priority amount


  8
2.____ Priority creditor’s name and mailing address                                                       0.00
                                                                                                         $______________________   $_________________
       Lauren Stiltner                                   As of the petition filing date, the claim is:
       117 Long Vista Court                              Check all that apply.
       Lexington, SC, 29073                                 Contingent
                                                            Unliquidated
                                                            Disputed


        Date or dates debt was incurred                  Basis for the claim:

        _________________________________
                                                         Wages, Salaries, Commissions
                                                         _________________________________
        Last 4 digits of account
        number      _______________________
                                                         Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    4
        claim: 11 U.S.C. § 507(a) (_____)
                                                         
                                                         ✔   No
                                                            Yes

  9
2.____ Priority creditor’s name and mailing address                                                       0.00
                                                                                                         $______________________   $_________________
       Pat H. Dunlap
                                                         As of the petition filing date, the claim is:
       123 Whitton Court
                                                         Check all that apply.
       Lexington, SC, 29073
                                                            Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        _________________________________
                                                         Wages, Salaries, Commissions
                                                         _________________________________

        Last 4 digits of account
                                                         Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                         
                                                         ✔
                                                             No
                                   4
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

  10
2.____ Priority creditor’s name and mailing address                                                        0.00
                                                                                                         $______________________   $_________________
       Sonya Ingram                                      As of the petition filing date, the claim is:
       113 Dandelion Court                               Check all that apply.
       Lexington, SC, 29072                                 Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        _________________________________                Wages, Salaries, Commissions
                                                         _________________________________

        Last 4 digits of account
        number      _______________________              Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured    
                                                         ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)
                                    4                       Yes

  11
2.____ Priority creditor’s name and mailing address                                                      0.00
                                                         As of the petition filing date, the claim is: $______________________     $_________________
      Tracy Hawks
                                                         Check all that apply.
      108 Kemsing Road
      Columbia, SC, 29212
                                                            Contingent
                                                            Unliquidated
                                                            Disputed


                                                         Basis for the claim:
        Date or dates debt was incurred
                                                         Wages, Salaries, Commissions
                                                         _________________________________
        _________________________________

        Last 4 digits of account                         Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                         
                                                         ✔
                                                             No
                                    4
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes


       Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                            page __    9
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  Debtor        _______________________________________________________
                Name                                      Document     Page 55 of Case
                                                                                   87 number (if known)_____________________________________
 Pa rt 2 :   List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Arboretum Retail, LLC                                                                                                    0.00
                                                                                                                           $________________________________
                                                                              Contingent
    PO Box 604077                                                             Unliquidated
    Charlotte, NC, 28260                                                      Disputed
                                                                                                   NOTICE PURPOSES ONLY
                                                                           Basis for the claim:



    Date or dates debt was incurred            ___________________          Is the claim subject to offset?

    Last 4 digits of account number            ___________________         
                                                                           ✔   No
                                                                              Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Augusta Mall, LLC                                                      Check all that apply.                             0.00
                                                                                                                           $________________________________
    PO BOX 86                                                                 Contingent
    SDS-12-2765                                                               Unliquidated
    Minneapolis, MN, 55486                                                    Disputed
                                                                           Basis for the claim:
                                                                                                   NOTICE PURPOSES ONLY


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔   No
    Last 4 digits of account number            __________________             Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Bank of America Business CC                                                                                              45,046.00
                                                                                                                           $________________________________
                                                                              Contingent
    PO Box 660442                                                             Unliquidated
                                                                              Disputed
     Dallas, TX, 75266
                                                                           Basis for the claim:
                                                                                                   Credit Card Debt

    Date or dates debt was incurred            10/13/2014
                                               ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            4894
                                               __________________          
                                                                           ✔   No
                                                                              Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    BEI Beach LLC                                                          Check all that apply.
                                                                                                                             0.00
                                                                                                                           $________________________________
    4017 Deville Street                                                       Contingent
    Myrtle Beach, SC, 29577                                                   Unliquidated
                                                                              Disputed
                                                                            Basis for the claim:
                                                                                                   NOTICE PURPOSES ONLY

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?

    Last 4 digits of account number            __________________          
                                                                           ✔
                                                                               No
                                                                              Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Belle Hall Shopping Center III, LLC                                                                                      0.00
                                                                                                                           $________________________________
                                                                           Check all that apply.
    5950 Fairview Rd., Ste 800                                                Contingent
    Charlotte, NC, 28210                                                      Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
                                                                                                   NOTICE PURPOSES ONLY

    Date or dates debt was incurred            ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔   No
                                                                              Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    CBL-Shops at Friendly Ctr LLC                                                                                            0.00
                                                                                                                           $________________________________
                                                                           Check all that apply.
    CBL Center                                                                Contingent
    2030 Hamilton Place Blvd                                                  Unliquidated
    Chattanooga, TN, 37421                                                    Disputed
                                                                           Basis for the claim:    NOTICE PURPOSES ONLY

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
    Last 4 digits of account number            ___________________         
                                                                           ✔
                                                                               No
                                                                              Yes


    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                              page __    9
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Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             0.00
                                                                                                                     $________________________________
 Equity Management Group, Inc.                                          Contingent
 840 East High Street                                                   Unliquidated
 Lexington, KY, 40502                                                   Disputed

                                                                     Basis for the claim: NOTICE PURPOSES ONLY



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  8
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       0.00
                                                                                                                     $________________________________
 Greenridge Shops, Inc.
 PO Box 74008261                                                        Contingent
 Chicago, IL, 60674                                                     Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: NOTICE PURPOSES ONLY



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  9
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hawthorne Northcross, LLC                                           Check all that apply.
                                                                                                                      0.00
                                                                                                                     $________________________________
 c/o Hawthorne Retail Ptrs Inc                                          Contingent
 PO Box 30174                                                           Unliquidated
 Charlotte, NC, 28230                                                   Disputed
                                                                     Basis for the claim: NOTICE PURPOSES ONLY



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  10
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      0.00
                                                                                                                     $________________________________
 Hines Global Reit                                                   Check all that apply.
 PO Box 742644                                                          Contingent
 Atlanta, GA, 30374                                                     Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: NOTICE PURPOSES ONLY



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  11
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Melanie Mauldin                                                     Check all that apply.
                                                                                                                       700,000.00
                                                                                                                     $________________________________
 432 Myrtle Avenue                                                      Contingent
                                                                        Unliquidated
 Pawleys Island, SC, 29585                                              Disputed
                                                                     Basis for the claim: Unsecured Debt - Promissory Note for Purchase of HP



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                     9
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                 HandPicked, Inc.           Doc 1       Filed 06/30/23 Entered 06/30/23 13:50:26 Desc Main
  Debtor          _______________________________________________________
                  Name                                  Document     Page 57 of Case
                                                                                 87 number (if known)_____________________________________
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  12
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             0.00
                                                                                                                     $________________________________
 Oberlin Village, LLC                                                   Contingent
 2501 Blue Ridge Road, Ste 280                                          Unliquidated
 Raleigh, NC, 27607                                                  
                                                                     ✔   Disputed

                                                                     Basis for the claim: Erroneously UCC on file for old landlord (lapses 9/6/2023).



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  13
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       0.00
                                                                                                                     $________________________________
 SCT Washington Crossing, LLC
 c/o Foundry Commercial, LLC                                            Contingent
 PO Box 6230                                                            Unliquidated
 Orlando, FL, 32802                                                     Disputed

                                                                     Basis for the claim: NOTICE PURPOSES ONLY



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  14
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Southeast Management Group                                          Check all that apply.
                                                                                                                      0.00
                                                                                                                     $________________________________
 PO Box 6165                                                            Contingent
 Greenville, SC, 29606                                                  Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: NOTICE PURPOSES ONLY



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  15
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      0.00
                                                                                                                     $________________________________
 Thruway Shopping Center, LLC                                        Check all that apply.
 PO Box 64288                                                           Contingent
 Baltimore, MD, 21264-4288                                              Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: NOTICE PURPOSES ONLY



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  16
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Time Clock Wizard                                                   Check all that apply.
                                                                                                                       0.00
                                                                                                                     $________________________________
 228 Park Ave S., #20163                                                Contingent
                                                                        Unliquidated
 New York, NY, 10003                                                    Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                       9
                                                                                                                                                   6 of ___
                                                                                                                                              page __
             Case   23-01923-eg
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  Debtor       _______________________________________________________
               Name                                     Document     Page 58 of Case
                                                                                 87 number (if known)_____________________________________
Pa rt 2 :   Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  17
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             0.00
                                                                                                                    $________________________________
 VAS Town Center I, LLC                                                Contingent
 c/o CNL Commercial RE, Inc.                                           Unliquidated
 121 West Trade St., 25th FL                                           Disputed
 Charlotte, NC, 28202
                                                                    Basis for the claim: NOTICE PURPOSES ONLY



                                                                     Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                 
                                                                 ✔
                                                                   No
                                                                  Yes
     Last 4 digits of account number         CSMC 2006-5 Retail 418
                                             ___________________

3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
                                                                       Contingent
                                                                       Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:



     Date or dates debt was incurred         ___________________     Is the claim subject to offset?
     Last 4 digits of account number         ___________________
                                                                       No
                                                                       Yes

3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
                                                                       Contingent
                                                                       Unliquidated
                                                                       Disputed
                                                                    Basis for the claim:



     Date or dates debt was incurred         ___________________     Is the claim subject to offset?
     Last 4 digits of account number         __________________        No
                                                                       Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
                                                                       Contingent
                                                                       Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:



     Date or dates debt was incurred         ___________________     Is the claim subject to offset?
                                                                       No
     Last 4 digits of account number         ___________________       Yes

3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
                                                                       Contingent
                                                                       Unliquidated
                                                                       Disputed
                                                                     Basis for the claim:



     Date or dates debt was incurred         ____________________    Is the claim subject to offset?
                                                                       No
     Last 4 digits of account number         ___________________       Yes




    Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                                      9
                                                                                                                                                7 of ___
                                                                                                                                           page __
                  Case    23-01923-eg
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     Debtor         _______________________________________________________
                    Name                                       Document     Page 59 of Case
                                                                                        87 number (if known)_____________________________________
Pa rt 3 :           List Ot he rs t o Be N ot ifie d About Unse c ure d Cla ims


4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



              Name and mailing address                                                         On which line in Part 1 or Part 2 is the         Last 4 digits of
                                                                                               related creditor (if any) listed?                account number, if
                                                                                                                                                any
          Business Card
4.1.      PO Box 15796                                                                              3.3
                                                                                               Line _____
          Wilmington, DE, 19886                                                                                                                 ________________
                                                                                                    Not listed. Explain:


4.2.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.3.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.4.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



41.                                                                                            Line _____

                                                                                                  Not listed. Explain                          ________________



4.5.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.6.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.7.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.8.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.9.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.10.                                                                                          Line _____

                                                                                                  Not listed. Explain                          ________________



4.11.
                                                                                               Line _____

                                                                                                  Not listed. Explain                          ________________




       Official Form 206E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                                  page __    9
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             Case   23-01923-eg
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 Debtor        _______________________________________________________
               Name                                  Document     Page 60 of Case
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Pa rt 4 :    T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                         Total of claim amounts



5a. Total claims from Part 1                                                                  5a.
                                                                                                           0.00
                                                                                                         $_____________________________




5b. Total claims from Part 2                                                                  5b.   +      745,046.00
                                                                                                         $_____________________________




5c. Total of Parts 1 and 2                                                                                 745,046.00
                                                                                              5c.        $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                  page __    9
                                                                                                                                       9 of ___
             Case 23-01923-eg                 Doc 1       Filed 06/30/23 Entered 06/30/23 13:50:26                                 Desc Main
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 Fill in this information to identify the case:

             HandPicked, Inc.
 Debtor name __________________________________________________________________

                                         District of South Carolina
 United States Bankruptcy Court for the:______________________

 Case number (If known):    _________________________                        11
                                                                     Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                                12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease
                                       Konica Minolta BH C4050I Copier                   Pollack Company
         State what the contract or    Lessee                                            1711 Central Avenue
 2.1     lease is for and the nature
         of the debtor’s interest
                                                                                         Augusta, GA, 30904

         State the term remaining
                                       54 months
         List the contract number of
         any government contract

                                       2185 Sunset Blvd Retail Space                     Rivercrest Realty
         State what the contract or    Lexington, SC                                     Director of Asset Mgmt/Acqs
 2.2     lease is for and the nature
         of the debtor’s interest      Lessee                                            8816 Six Forks Rd., Ste 201
                                                                                         Raleigh, NC, 27615
         State the term remaining      Month to Month
         List the contract number of
         any government contract

                                       5 Year Lease for Irmo Store Retail                 Big V Properties LLC
         State what the contract or    Space                                              176 N Main Street
 2.3     lease is for and the nature
         of the debtor’s interest      Lessee                                             Suite 210
                                                                                          Florida, NY, 10921
         State the term remaining      60 months
         List the contract number of
         any government contract


         State what the contract or
 2.4
         lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.5     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                                        1
                                                                                                                                              page 1 of ___
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 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             HandPicked, Inc.

                                         District of South Carolina
 United States Bankruptcy Court for the:_______________________________

 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       
       ✔ Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:

       Sonya Ingram                  113 Dandelion Court
 2.1
                                     Lexington, SC 29072                                                 Bank                       D
                                                                                                               of America Business CC
                                                                                                          _____________________
                                                                                                                                             ✔ E/F
                                                                                                                                             
                                                                                                                                              G




 2.2                                 113 Dandelion Court
                                     Lexington, SC 29072                                                 Melanie   Mauldin
                                                                                                          _____________________               D
                                                                                                                                             ✔ E/F
                                                                                                                                             
       Sonya Ingram                                                                                                                           G




 2.3                                 113 Dandelion Court
                                     Lexington, SC 29072                                                  Business   Development Corporation
                                                                                                           _____________________    ✔ D
                                                                                                                                    
                                                                                                                                              E/F
       Sonya Ingram                                                                                                                           G



 2.4
                                     113 Dandelion Court
                                     Lexington, SC 29072                                                 CCA   Financial
                                                                                                          _____________________              ✔ D
                                                                                                                                             
                                                                                                                                              E/F
       Sonya Ingram                                                                                                                           G



 2.5                                 113 Dandelion Court
                                     Lexington, SC 29072                                                 U.S.
                                                                                                          _____________________    ✔ D
                                                                                                               Small Business Administration
                                                                                                                                   
                                                                                                                                              E/F
       Sonya Ingram                                                                                                                           G




 2.6                                 113 Dandelion Court
                                                                                                         US                        ✔ D
                                                                                                             Small Business Administration
                                                                                                          _____________________    
                                     Lexington, SC 29072
                                                                                                                                              E/F
       Sonya Ingram                                                                                                                           G




Official Form 206H                                               Schedule H: Codebtors                                                                    2
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Debtor         _______________________________________________________                Case number (if known)_____________________________________
               Name




            Addit iona l Pa ge if De bt or Ha s M ore Code bt ors


           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                   Column 2: Creditor

                                                                                                                             Check all schedules
            Name                   Mailing address                                           Name
                                                                                                                             that apply:

   7
 2.___    Kevin D. Ingram        113 Dandelion Court                                         Business Development
                                                                                                                              ✔ D
                                                                                                                              
                                 Lexington, SC 29072                                         Corporation                       E/F
                                                                                                                               G




 2.___
                                                                                                                               D
                                                                                                                               E/F
                                                                                                                               G




 2.___
                                                                                                                               D
                                                                                                                               E/F
                                                                                                                               G




 2.___
                                                                                                                               D
                                                                                                                               E/F
                                                                                                                               G




 2.___
                                                                                                                               D
                                                                                                                               E/F
                                                                                                                               G




 2.___
                                                                                                                               D
                                                                                                                               E/F
                                                                                                                               G




 2.___
                                                                                                                               D
                                                                                                                               E/F
                                                                                                                               G




 2.___
                                                                                                                               D
                                                                                                                               E/F
                                                                                                                               G




 Official Form 206H                                     Schedule H: Codebtors                                                    page ___
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                                                                                                                                             2
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Fill in this information to identify the case:
             HandPicked, Inc.
Debtor name __________________________________________________________________

                                        ______________________
United States Bankruptcy Court for the: District of South Carolina District of _________
                                                                              (State)
Case number (If known):   _________________________                                               ___________________________________________



                                                                                                                                       Check if this is an
                                                                                                                                          amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                     04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

        None

            Identify the beginning and ending dates of the debtor’s fiscal year, which         Sources of revenue                   Gross revenue
            may be a calendar year                                                             Check all that apply                 (before deductions and
                                                                                                                                    exclusions)

           From the beginning of the                                                           
                                                                                               ✔ Operating a business
                                                                                                                                                265,776.56
           fiscal year to filing date:           01/01/2023
                                           From ___________         to     Filing date          Other                               $_____________________
                                                  MM / DD / YYYY


           For prior year:                       01/02/2022
                                           From ___________         to     12/31/2022
                                                                           ___________         
                                                                                               ✔ Operating a business                           695,297.00
                                                                                                                                     $_____________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                Other
           For the year before that:             01/03/2021
                                           From ___________         to     01/01/2022
                                                                           ___________         
                                                                                               ✔ Operating a business
                                                                                                                                                969,690.00
                                                  MM / DD / YYYY            MM / DD / YYYY                                           $_____________________
                                                                                                Other


 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

        None

                                                                                               Description of sources of revenue    Gross revenue from each
                                                                                                                                    source
                                                                                                                                    (before deductions and
                                                                                                                                    exclusions)

           From the beginning of the                                                                                                               0.00
                                                                                              ___________________________           $__________________
           fiscal year to filing date: From 01/01/2023
                                            ___________             to      Filing date
                                                  MM / DD / YYYY



           For prior year:                 From 01/02/2022
                                                ___________         to      12/31/2022
                                                                            ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   PPP Loan Forgiveness
                                                                                               ___________________________                    186,574.00
                                                                                                                                    $__________________



           For the year before that:       From 01/03/2021
                                                ___________         to      01/01/2022
                                                                            ___________
                                                  MM / DD / YYYY             MM / DD / YYYY    ___________________________
                                                                                              Wells Fargo Debt Forgiveness                    209,863.00
                                                                                                                                    $__________________




 Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 1
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                 HandPicked, Inc.
Debtor           _______________________________________________________                       Case number (if known)_____________________________________
                 Name




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be
    adjusted on 4/01/23 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None
     ✔
             Creditor’s name and address                       Dates          Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.

             __________________________________________                       $_________________                 Secured debt
             Creditor’s name
                                                                                                                 Unsecured loan repayments

                                                                                                                 Suppliers or vendors

                                                                                                                 Services

                                                                                                                 Other _______________________________


     3.2.

                                                                              $_________________                 Secured debt
             __________________________________________
             Creditor’s name                                                                                     Unsecured loan repayments

                                                                                                                 Suppliers or vendors

                                                                                                                 Services

                                                                                                                 Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their
    relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing
    agent of the debtor. 11 U.S.C. § 101(31).

     
     ✔      None

             Insider’s name and address                        Dates          Total amount or value        Reasons for payment or transfer
     4.1.

             __________________________________________      _________       $__________________
             Insider’s name

                                                             _________

                                                             _________


             Relationship to debtor
             __________________________________________



     4.2.    __________________________________________
             Insider’s name
                                                             _________       $__________________

                                                             _________

                                                             _________




             Relationship to debtor

             __________________________________________



Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 2
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Debtor           _______________________________________________________                           Case number (if known)_____________________________________
                 Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     None
    ✔
            Creditor’s name and address                        Description of the property                                Date                Value of property
     5.1.

            __________________________________________                                                                    ______________      $___________
            Creditor’s name




     5.2.
            __________________________________________
            Creditor’s name                                                                                               _______________       $___________




 6. Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     None
    ✔
             Creditor’s name and address                          Description of the action creditor took                 Date action was        Amount
                                                                                                                          taken

             __________________________________________                                                                  _______________      $___________
             Creditor’s name




                                                                Last 4 digits of account number: XXXX– ________


  Part 3:       Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

           None
             Case title                              Nature of case                           Court or agency’s name and address               Status of case
            Oberlin Village LLC vs. HandPicked,                                              Wake County Superior Court
     7.1.   Inc.                                     Money Owed                                                                                   Pending

                                                                                                                                                  On appeal

             Case number                                                                     316 Fayette Ville St., Ste 2050                   
                                                                                                                                               ✔   Concluded
                                                                                             Raleigh, NC 27601
      19-CVS-014420-910
             _________________________________

             Case title                                                                       Court or agency’s name and address
                                                                                                                                                  Pending
     7.2.
                                                                                                                                                  On appeal

             Case number
                                                                                                                                                  Concluded




             _________________________________


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                 HandPicked, Inc.
Debtor           _______________________________________________________                            Case number (if known)_____________________________________
                 Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     None
    ✔
             Custodian’s name and address                        Description of the property                        Value

             __________________________________________          ______________________________________             $_____________
             Custodian’s name
                                                                 Case title                                         Court name and address

                                                                 ______________________________________           __________________________________________
                                                                                                                  Name
                                                                 Case number


                                                                 ______________________________________
                                                                 Date of order or assignment

                                                                 ______________________________________

 Part 4:        Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     None
    ✔
             Recipient’s name and address                        Description of the gifts or contributions                   Dates given           Value


     9.1.
            __________________________________________                                                                       _________________   $__________
            Recipient’s name


                                                                                                                             _________________   $__________




             Recipient’s relationship to debtor
             __________________________________________


            __________________________________________                                                                       _________________   $__________
     9.2. Recipient’s name



                                                                                                                             _________________    $__________




             Recipient’s relationship to debtor
             __________________________________________


 Part 5:        Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     None
    ✔
             Description of the property lost and how the loss   Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                            If you have received payments to cover the loss, for                            lost
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.
                                                                 List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                 Assets – Real and Personal Property).


                                                                 ___________________________________________                 _________________   $__________



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                HandPicked, Inc.
Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name




 Part 6:      Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

          None

            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

            Penn Law Firm, LLC
            __________________________________________
   11.1.                                                                                                                 05/26/2023
                                                                                                                         ______________      $_________
                                                                                                                                               15,000.00
            Address

            1517 Laurel Street
            Columbia, SC 29201




            Email or website address
            _________________________________

            Who made the payment, if not debtor?

            Sonya Ingram
            __________________________________________


            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value


   11.2.    __________________________________________
                                                                                                                         ______________      $_________
            Address




            Email or website address


            __________________________________________


            Who made the payment, if not debtor?

            __________________________________________

 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     ✔     None

            Name of trust or device                           Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


            __________________________________________                                                                    ______________      $_________

            Trustee

            __________________________________________




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                HandPicked, Inc.
Debtor         _______________________________________________________                           Case number (if known)_____________________________________
               Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


     
     ✔     None

            Who received transfer?                             Description of property transferred or payments received   Date transfer       Total amount or
                                                               or debts paid in exchange                                  was made            value



   13.1.    __________________________________________                                                                    ________________     $_________

            Address




            Relationship to debtor

            __________________________________________




            Who received transfer?                                                                                        ________________     $_________

   13.2.    __________________________________________

            Address




            Relationship to debtor

            __________________________________________



 Part 7:      Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

          Does not apply
            Address                                                                                             Dates of occupancy


   14.1.    441 Industrial Drive                                                                               From        06/01/2018
                                                                                                                          ____________       To   02/20/2023
                                                                                                                                                  ____________
            Lexington , SC 29072




   14.2.                                                                                                       From       ____________       To   ____________




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                 HandPicked, Inc.
Debtor           _______________________________________________________                           Case number (if known)_____________________________________
                 Name




 Part 8:         Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     
     ✔     No. Go to Part 9.
          Yes. Fill in the information below.
            Facility name and address                        Nature of the business operation, including type of services the              If debtor provides meals
                                                             debtor provides                                                               and housing, number of
                                                                                                                                           patients in debtor’s care

   15.1.    ________________________________________                                                                                       ____________________
            Facility name


                                                             Location where patient records are maintained (if different from facility
                                                             address). If electronic, identify any service provider.                       How are records kept?


                                                                                                                                           Check all that apply:

                                                                                                                                              Electronically
                                                                                                                                              Paper

                                                             Nature of the business operation, including type of services the              If debtor provides meals
            Facility name and address                        debtor provides                                                               and housing, number of
                                                                                                                                           patients in debtor’s care

   15.2.                                                                                                                                   ____________________
            ________________________________________
            Facility name


                                                             Location where patient records are maintained (if different from facility     How are records kept?
                                                             address). If electronic, identify any service provider.

                                                                                                                                           Check all that apply:
                                                                                                                                            Electronically
                                                                                                                                           Paper

 Part 9:         Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

     
     ✔     No.
          Yes. State the nature of the information collected and retained. ___________________________________________________________________
                 Does the debtor have a privacy policy about that information?
                 
                    No
                    Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

     
     ✔     No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?
                    No. Go to Part 10.
                    Yes. Fill in below:
                        Name of plan                                                                           Employer identification number of the plan

                        _______________________________________________________________________                EIN: ___________________________________

                     Has the plan been terminated?
                           No
                           Yes



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Debtor            HandPicked, Inc.
                  _______________________________________________________                         Case number (if known)_____________________________________
                  Name




 Part 10:         Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

     
     ✔     None
            Financial institution name and address         Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.     ______________________________________        XXXX–__________                 Checking                  ___________________      $__________
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

   18.2.     ______________________________________        XXXX–__________                 Checking                  ___________________      $__________
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     
     ✔     None

              Depository institution name and address      Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

             ______________________________________                                                                                                     No
            Name                                                                                                                                        Yes



                                                           Address




20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

          None

              Facility name and address                    Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                          Sonya Ingram                                Packaging, Store forms, Monogram                 No
             Extra Space Storage, Unit 332
             ______________________________________                                                   machines, Embroidery machines,
            Name                                                                                      tables, file cabinets, misc. household
                                                                                                                                                      
                                                                                                                                                      ✔ Yes

             890 St Peters Rd                                                                         goods, Christmas decor, files,
             Lexington, SC 29072                                                                      paperwork, shipping materials

                                                            Address




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              HandPicked, Inc.
Debtor        _______________________________________________________                          Case number (if known)_____________________________________
              Name




 Part 11:       Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

        None

          Owner’s name and address                       Location of the property                   Description of the property                    Value

                                                        2045 Highway 378                           Held for Scott Goff, former employee.            5,000.00
                                                                                                                                                  $_________
          HandPicked, Inc.
          ______________________________________        Lexington, SC 29072                        2016 Dodge Ram Truck
          Name
          270 Harbison Boulevard
          Columbia, SC 29212




 Part 12:       Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     ✔   No
        Yes. Provide details below.
          Case title                                 Court or agency name and address               Nature of the case                        Status of case

          _________________________________                                                                                                       Pending
                                                      _____________________________________
          Case number                                 Name                                                                                        On appeal

          _________________________________                                                                                                       Concluded




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     ✔   No
        Yes. Provide details below.

         Site name and address                        Governmental unit name and address            Environmental law, if known              Date of notice


          __________________________________         _____________________________________                                                    __________
          Name                                       Name




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                HandPicked, Inc.
Debtor          _______________________________________________________                      Case number (if known)_____________________________________
                Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     
     ✔     No
          Yes. Provide details below.

           Site name and address                     Governmental unit name and address           Environmental law, if known                Date of notice


            __________________________________      ______________________________________                                                     __________
            Name                                    Name




 Part 13:          Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

     
     ✔     None


            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
   25.1.    __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
   25.2.                                                                                                   Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
            __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

   25.3.                                                                                                   EIN: ________________________
            __________________________________
            Name
                                                                                                           Dates business existed




                                                                                                           From ___________              To ____________




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                   HandPicked, Inc.
Debtor            _______________________________________________________                        Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List    all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                 None
              Name and address                                                                                Dates of service


              Cathy Whetstone                                                                                 From 01/01/2018
                                                                                                                   _______
   26a.1.     __________________________________________________________________________________
              Name                                                                                               03/01/2023
              111 Hounds Run Drive, Lexington, SC 29072                                                       To _______




              Name and address                                                                                Dates of service

              Tracy Hawks                                                                                     From 01/01/2010
                                                                                                                   _______
   26a.2.     __________________________________________________________________________________
              Name
              108 Kemsing Road, Columbia, SC 29212                                                              06/30/2023
                                                                                                             To _______




     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
                 None

                    Name and address                                                                          Dates of service

                                                                                                                   01/01/2020
                    Dooley & Company, CPAs                                                                    From _______
         26b.1.     ______________________________________________________________________________
                    Name                                                                                         06/30/2023
                    468 Old Cherokee Road, Lexington, SC 29072                                                To _______




                                                                                                              Dates of service
                    Name and address

                                                                                                              From _______
         26b.2.
                    ______________________________________________________________________________
                    Name                                                                                      To _______




     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
            
            ✔     None
                    Name and address                                                                          If any books of account and records are
                                                                                                              unavailable, explain why


         26c.1.     ______________________________________________________________________________
                    Name




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                    HandPicked, Inc.
Debtor              _______________________________________________________                     Case number (if known)_____________________________________
                    Name




                     Name and address                                                                        If any books of account and records are
                                                                                                             unavailable, explain why


           26c.2.    ______________________________________________________________________________
                     Name




     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

                   None

                     Name and address


           26d.1.    Business Development Corporation
                     ______________________________________________________________________________
                     Name
                      111 Executive Center Drive, Enoree Bldg., Ste. 225, Columbia, SC




                     Name and address



           26d.2.
                     US Small Business Administration
                     ______________________________________________________________________________
                     Name
                      2 North Street, Ste. 320, Birmingham, AL 35203




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
           No
     
     ✔      Yes. Give the details about the two most recent inventories.



               Name of the person who supervised the taking of the inventory                    Date of       The dollar amount and basis (cost, market, or
                                                                                                inventory     other basis) of each inventory

              Sonya Ingram
              ______________________________________________________________________           _______       $___________________

               Name and address of the person who has possession of inventory records


   27.1.       Sonya Ingram c/o HandPicked, LLC
               ______________________________________________________________________
              Name
               270 Harbison Boulevard
               Columbia, SC 29212




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                HandPicked, Inc.
Debtor          _______________________________________________________                        Case number (if known)_____________________________________
                Name




            Name of the person who supervised the taking of the inventory                     Date of          The dollar amount and basis (cost, market, or
                                                                                              inventory        other basis) of each inventory

            ______________________________________________________________________            _______         $___________________

            Name and address of the person who has possession of inventory records


   27.2.    ______________________________________________________________________
            Name




 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.
   Name                                      Address                                                 Position and nature of any interest       % of interest, if any
 Sonya M. Ingram                             113 Dandelion Court, Lexington, SC 29072                Owner                                    100




 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
    ✔ No

          Yes. Identify below.
   Name                                                                                                 Position and nature of any    Period during which position
                                                Address                                                 interest                      or interest was held


                                                                                                                                       _________ To _________


                                                                                                                                       _________ To _________


                                                                                                                                       _________ To _________


                                                                                                                                       _________ To _________

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
          No
     
     ✔     Yes. Identify below.
                                                                                     Amount of money or description      Dates                Reason for providing
            Name and address of recipient                                            and value of property                                    the value

   30.1.    Sonya Ingram                                                                                                                     Bi-Weekly Salary
            ______________________________________________________________            110,300.01
                                                                                      _________________________          _____________
            Name                                                                                                                             6/30/2022-6/30/2023
            113 Dandelion Court
            Lexington, SC 29072                                                                                          _____________


                                                                                                                         _____________

            Relationship to debtor                                                                                       _____________
            Owner
            ______________________________________________________________                                               _____________
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                   HandPicked, Inc.
Debtor             _______________________________________________________                          Case number (if known)_____________________________________
                   Name




              Name and address of recipient
                                                                                            __________________________     _____________

   30.2       ______________________________________________________________
              Name                                                                                                         _____________

                                                                                                                           _____________



                                                                                                                           _____________


              Relationship to debtor                                                                                       _____________

              ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     
     ✔       No
            Yes. Identify below.
              Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                          corporation

              ______________________________________________________________                             EIN: ____________________________



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     
     ✔       No
            Yes. Identify below.

              Name of the pension fund                                                                    Employer Identification number of the pension fund

              ______________________________________________________________                             EIN: ____________________________



 Part 14:            Signature and Declaration


             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
             connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
             18 U.S.C. §§ 152, 1341, 1519, and 3571.

             I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
             is true and correct.

             I declare under penalty of perjury that the foregoing is true and correct.

             Executed on       06/30/2023
                               _________________
                                MM / DD / YYYY



              /s/ Sonya M. Ingram
              ___________________________________________________________                              Sonya M. Ingram
                                                                                          Printed name _________________________________________________
              Signature of individual signing on behalf of the debtor

                                                 Owner
              Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
             No
         
         ✔    Yes




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 Debtor Name                                                                 Case number (if known)



                                     Continuation Sheet for Official Form 207

26d) Creditors

CCA Financial                                        7275 Glen Forest Drive, Richmond, VA
                                                     23226

Big V Properties, LLC                                176 N. Main Street, Ste. 210, Florida,
                                                     NY 10921




  Official Form 207                  Statement of Financial Affairs for Non-Individuals
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                                                       Doc 1 SOFA-27
                                                             Filed 06/30/23 Entered 06/30/23 13:50:26                                                  Desc Main
                                                             Document     Page 79 of 87
Locations: Location is ("04 Irmo" or "99 Web" or "01 Warehouse" or "12 Lexington")
Items: All                                                                                                                         YE2022 December Inventory Report
Customers: All
Generated: Thursday, June 29, 2023 5:15 PM
Sort: Location:
Name (asc)

                 1/1/2023 -
                 6/29/2023
                                                                                                                                                          Inventory
                Beginning                                                                                Ending                                         Adjustment:
                Inventory:      Beginning          Purchasing:          Transfer          Transfer    Inventory:         Ending            Inventory            Net    Source Sales:       Source
  Location:       Cost On        Inventory:     Gross Received      Shipped: Net     Received: Net      Cost On       Inventory:    Adjustments: Net       Adjusted    Net Item Sold        Sales:
     Name           Hand      Price Owned                 Cost             Cost              Cost          Hand    Price Owned         Adjusted Cost          Price             Cost     Net Sales
       01          $-10.25          $-92.00                $0.00             $0.00           $0.00      $-10.25         $-92.00                $0.00          $0.00            $0.00         $0.00
Warehouse
    04 Irmo     $14,571.25      $63,101.40                 $0.00        $2,368.00       $37,577.91   $12,380.01      $53,635.32              $443.83        $300.59       $37,612.89    $120,482.29
         12     $27,778.43     $110,808.63                 $0.00        $2,880.04       $33,089.56   $20,145.62      $89,194.47              $296.80      $2,201.14       $37,908.62    $125,332.02
  Lexington
    99 Web      $31,695.69     $154,698.36           $66,976.38        $68,135.05        $2,610.79   $13,123.52      $80,161.00          $-19,559.80     $-90,895.88           $0.00         $0.00
    Grand     $74,035.12      $328,516.39           $66,976.38        $73,383.09       $73,278.26    $45,638.89    $222,898.79          $-18,819.17             $-       $75,521.51    $245,814.31
     total:                                                                                                                                              88,394.15




                                                                                             Page 1 of 1
           Case 23-01923-eg                  Doc 1      Filed 06/30/23 Entered 06/30/23 13:50:26                              Desc Main
                                                        Document     Page 80 of 87
 Fill in this information to identify the case and this filing:

              HandPicked, Inc.
 Debtor Name __________________________________________________________________

                                         District of South Carolina
 United States Bankruptcy Court for the: ________________________________

 Case number (If known):    _________________________




Official Form 202
De c la ra t ion U nde r Pe na lt y of Pe rjury for N on-I ndividua l De bt ors                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            De c la ra t ion a nd signa t ure



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         ✔    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         ✔    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         ✔    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         ✔    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         ✔    Schedule H: Codebtors (Official Form 206H)

         
         ✔    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         
         ✔    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    06/30/2023
        Executed on ______________                          /s/ Sonya M. Ingram
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Sonya M. Ingram
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  Owner
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                               United States Bankruptcy Court
                               District of South Carolina




         HandPicked, Inc.
In re:                                                           Case No.

                                                                 Chapter    11
                     Debtor(s)




                               Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              06/30/2023                          /s/ Sonya M. Ingram
Date:
                                                  Signature of Individual signing on behalf of debtor

                                                  Owner
                                                  Position or relationship to debtor
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Arboretum Retail, LLC                                Greenridge Shops, Inc.
PO Box 604077                                        PO Box 74008261
Charlotte, NC 28260                                  Chicago, IL 60674

Augusta Mall, LLC                                    Hawthorne Northcross, LLC
PO BOX 86                                            c/o Hawthorne Retail Ptrs Inc
SDS-12-2765                                          PO Box 30174
Minneapolis, MN 55486                                Charlotte, NC 28230

Bank of America Business CC                          Hines Global Reit
PO Box 660442                                        PO Box 742644
Dallas, TX 75266                                     Atlanta, GA 30374

BEI Beach LLC                                        Janette Liverman Shealy
4017 Deville Street                                  236 McGregor Circle
Myrtle Beach, SC 29577                               Lexington, SC 29072

Belle Hall Shopping Center III, LLC                  Janice Buff
5950 Fairview Rd., Ste 800                           111 Gowan Hill Drive
Charlotte, NC 28210                                  Lexington, SC 29072

Big V Properties LLC                                 Karen Hiter
176 N Main Street                                    407 Creek Branch Ct
Suite 210                                            Lexington, SC 29072
Florida, NY 10921
                                                     KeAnjane Govan
Business Card                                        3406 Fernancina Road
PO Box 15796                                         Apt 311
Wilmington, DE 19886                                 Columbia, SC 29210

Business Development Corp. of SC                     Kevin D. Ingram
PO Box 21823                                         113 Dandelion Court
Columbia, SC 29221                                   Lexington, SC 29072

Business Development Corporation                     Landon Ingram
111 Executive Center Drive                           113 Dandelion Court
Enoree Bldg., Ste. 225                               Lexington, SC 29072
Columbia, SC 29210
                                                     Laura Christine Collins
Callison Tighe & Robinson, LLC                       711 Haverhill Court
PO Box 1390                                          West Columbia, SC 29169
Columbia, SC 29221
                                                     Lauren Stiltner
CBL-Shops at Friendly Ctr LLC                        117 Long Vista Court
CBL Center                                           Lexington, SC 29073
2030 Hamilton Place Blvd
Chattanooga, TN 37421                                Melanie Mauldin
                                                     432 Myrtle Avenue
CCA Financial                                        Pawleys Island, SC 29585
7275 Glen Forest Drive
Richmond, VA 23226                                   Oberlin Village, LLC
                                                     2501 Blue Ridge Road, Ste 280
Danielle Anastacia Johnson                           Raleigh, NC 27607
550 Newton Road
Irmo, SC 29063                                       Pat H. Dunlap
                                                     123 Whitton Court
Equity Management Group, Inc.                        Lexington, SC 29073
840 East High Street
Lexington, KY 40502                                  Pollack Company
                                                     1711 Central Avenue
                                                     Augusta, GA 30904
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Rivercrest Realty
Director of Asset Mgmt/Acqs
8816 Six Forks Rd., Ste 201
Raleigh, NC 27615

SCT Washington Crossing, LLC
c/o Foundry Commercial, LLC
PO Box 6230
Orlando, FL 32802

Sonya Ingram
113 Dandelion Court
Lexington, SC 29072

Southeast Management Group
PO Box 6165
Greenville, SC 29606

Thruway Shopping Center, LLC
PO Box 64288
Baltimore, MD 21264-4288

Time Clock Wizard
228 Park Ave S., #20163
New York, NY 10003

Tracy Hawks
108 Kemsing Road
Columbia, SC 29212

U.S. Securities and Exchange Comm
Office of Reorganization
950 East Paces Ferry Rd., N.E. Ste 900
Atlanta, GA 30326

U.S. Small Business Administration
Disaster Relief Processing Center
14925 Kingsport Road
Fort Worth, TX 76155

US Small Business Administration
Disaster Relief Processing Center
14925 Kingsport Road
Fort Worth, TX 76155

VAS Town Center I, LLC
c/o CNL Commercial RE, Inc.
121 West Trade St., 25th FL
Charlotte, NC 28202

Wells Fargo Bank, N.A.
PO Box 2705
CLS Collateral Serv. Dept
Winston Salem, NC 27199
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                                           United States Bankruptcy Court
                                             South Carolina
In re: HandPicked,   Inc.                                               Case No.
                                                                        Chapter    11
     Debtor(s)




                                   BUSINESS INCOME AND EXPENSES

                 Gross Monthly Income                              54,082.00
                                                                  $__________
                 Business Expenses
                            Cost of goods sold                       14,911.00
                                                                     __________
                            Advertising                              200.00
                                                                     __________
                            Car and truck expenses                   178.00
                                                                     __________
                            Fees                                     310.00
                                                                     __________
                            Depreciation                             __________
                            Employee benefits                        485.00
                                                                     __________
                            Insurance                                2,766.00
                                                                     __________
                            Interest                                 4,942.00
                                                                     __________
                            Legal and professional                   370.00
                                                                     __________
                            Office expense                           __________
                            Pension and profit sharing               __________
                            Rent                                     7,368.00
                                                                     __________
                            Other leases                             201.00
                                                                     __________
                            Repairs                                  328.00
                                                                     __________
                            Maintenance                              __________
                            Supplies                                 525.00
                                                                     __________
                            Taxes and licenses                       3,999.00
                                                                     __________
                            Travel, meals, etc                       300.00
                                                                     __________
                            Utilities                                1,172.00
                                                                     __________
                            Other ___________________
                                  Computer/Operations Software       660.00
                                                                     __________
                            ________________________
                            Wages                                    19,332.00

                            ________________________

                 Total Expenses                                    58,047.00
                                                                  $__________

                 Net Monthly Income                                -3,965.00
                                                                  $__________
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                                      United States Bankruptcy Court
                                                               District of South Carolina
                                               __________________________________
     In re   HandPicked, Inc.

                                                                                                             Case No. _______________

    Debtor                                                                                                            11
                                                                                                              Chapter________________

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

    FLAT FEE
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
✔    RETAINER
                                                                                                                         15,000.00
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                         375.00
          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)        Sonya Ingram


    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
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      d. [Other provisions as needed]
Above is retainer only. Fees billed hourly as outlined in Application to Employ to be filed at a future date.




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
1) Adversary proceedings in the Bankruptcy Court; (2) Lawsuits or other legal proceedings before any other court or tribunal; (3) Appeals; and (4)
Matters involving material facts not disclosed at the time the Retainer Agreement was executed.
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                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for
          payment to me for representation of the debtor(s) in this bankruptcy proceeding.

       06/30/2023                       /s/ W. Harrison Penn, District Ct. ID #11164
     _____________________             _________________________________________
     Date                                    Signature of Attorney
                                        Penn Law Firm, LLC
                                       _________________________________________
                                            ​Name of law firm
                                        1517 Laurel Street (29201)
                                        PO Box 11332
                                        Columbia, SC 29211-1332
